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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

CHELSEA RAYNE WINTERS,

        Plaintiff,
                                             CASE NO.
-vs-

EQUIFAX INFORMATION
SERVICES LLC, EXPERIAN
INFORMATION SOLUTIONS, INC.,
TRANS UNION LLC, and CAPITAL
ONE, N.A.,

        Defendants.

               COMPLAINT AND DEMAND FOR JURY TRIAL

       NOW COMES, Plaintiff, CHELSEA RAYNE WINTERS (hereinafter

“Plaintiff”), sues Defendants, EQUIFAX INFORMATION SERVICES LLC

(“Equifax”), EXPERIAN INFORMATION SOLUTIONS, INC. (“Experian”),

TRANS UNION LLC (“Trans Union”), and CAPITAL ONE, N.A. (“Capital One”),

in support thereof respectfully alleges violations of the Fair Credit Reporting Act

(“FCRA”), 15 U.S.C. § 1681 et seq.

                         PRELIMINARY STATEMENT

       1.     This is an action for actual damages, statutory damages, punitive

damages, costs, and attorney’s fees brought pursuant to the FCRA.


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      2.     Today in America there are three major consumer reporting agencies,

Equifax Information Services, LLC (hereinafter “Equifax”), Trans Union LLC

(hereinafter “Trans Union”), and Experian Information Solutions, Inc. (hereinafter

“Experian”) (hereinafter collectively “CRAs”).

      3.     Consumer reporting agencies that create consumer reports, like

Equifax, Experian, and Trans Union are charged with using reasonable procedures

designed to ensure the maximum possible accuracy of the information they report.

It is not enough for them to simply parrot information they receive from entities,

particularly where a consumer makes a dispute about information reported.

      4.     When a consumer like Plaintiff disputes information through the

agencies, those disputes are transmitted to the party furnishing the information. The

FCRA demands that each party separately conduct a reasonable investigation of the

consumer’s dispute and correct or delete information they learn to be inaccurate or

cannot otherwise verify.

      5.     The Consumer Financial Protection Bureau has noted, “experience

indicates that [CRAs] lack incentives and under-invest in accuracy” Consumer Fin.

Prot. Bureau, Supervisory Highlights Consumer Reporting Special Edition 21 (Issue

14, March 2, 2017).

                                 JURISDICTION


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       6.    The jurisdiction for this Court is conferred by 15 U.S.C. § 1681p and

28 U.S.C. § 1331.

       7.    Plaintiff is a natural person and resident of Lane County in the State of

Oregon. She is a “consumer” as defined by 15 U.S.C. § 1681a(c).

       8.    Venue is proper in this District as Equifax’s principal address is in this

District, each of the Defendants transacts business within this District, and a

substantial portion of the violations described in this Complaint occurred in this

District.

       9.    Equifax is headquartered at 1550 Peachtree Street, N.W., Atlanta,

Georgia 30309.

       10.   Equifax is a “consumer reporting agency,” as defined in 15 U.S.C §

1681(f). Upon information and belief, Equifax is regularly engaged in the business

of assembling, evaluating and disbursing information concerning consumers for the

purpose of furnishing consumer reports as defied in 15 U.S.C § 1681(d) to third

parties.

       11.   Equifax disburses such consumer reports to third parties under contract

for monetary compensation.




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       12.   Experian is a corporation incorporated under the State of California,

authorized to do business in the State of Georgia, through its registered agent, C T

Corporation System, located at 289 S Culver St, Lawrenceville, Georgia 30046.

       13.   Experian is a “consumer reporting agency,” as defined in 15 U.S.C §

1681(f). Upon information and belief, Experian is regularly engaged in the business

of assembling, evaluating and disbursing information concerning consumers for the

purpose of furnishing consumer reports as defied in 15 U.S.C § 1681(d) to third

parties.

       14.   Experian disburses such consumer reports to third parties under

contract for monetary compensation.

       15.   Trans Union is a corporation incorporated under the State of Illinois,

authorized to do business in the State of Georgia, through its registered agent,

Corporation Service Company, located at 2 Sun Court, Suite 400, Peachtree Corners,

Georgia 30092.

       16.   Trans Union is a “consumer reporting agency,” as defined in 15 U.S.C

§ 1681(f). Upon information and belief, Trans Union is regularly engaged in the

business of assembling, evaluating and disbursing information concerning

consumers for the purpose of furnishing consumer reports as defied in 15 U.S.C §

1681(d) to third parties.


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      17.   Trans Union disburses such consumer reports to third parties under

contract for monetary compensation.

      18.   Capital One is a FDIC insured national bank headquartered at 1680

Capital One Drive, McLean, Virginia 22102 that conducts business in the State of

Georgia.

      19.   Capital One is a “furnisher of information” as that term is used in 15

U.S.C § 1681s-2.

      20.   Capital One furnished inaccurate information about Plaintiff to the

CRAs.




                          FACTUAL ALLEGATIONS

      21.   Plaintiff is alleged to owe a debt to Capital One as to a credit card,

partial account #0062.

      22.   Plaintiff does not owe the Capital One debt for account #0062. This

was an account takeover where the criminal used the card without Plaintiff’s

permission. Plaintiff does not owe the Capital One debt for account #4878. Plaintiff

never applied, nor authorized anyone to apply using her information for account

#4878.


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      23.    On or about June 16, 2022, Plaintiff’s car was broken into, and her purse

was stolen from the trunk of her car which contained her wallet. Immediately

Plaintiff began to contact credit card accounts and banking accounts to notify them

of the theft, have alerts placed regarding the theft, and close the accounts.

      24.    However, on that same day, Plaintiff began receiving Credit Karma

alerts regarding hard inquiries on her credit file.

      25.    A few days later when contacting Capital One to pay her valid account,

Plaintiff learned that the thief that stole her purse had successfully opened Capital

One credit cards in her name. She requested for dispute alerts to be placed on her

account.

      26.    On or about July 11, 2022, Plaintiff contacted Experian and added a

personal statement within her credit report regarding the fraud:




      27.    On September 1, 2022, Plaintiff filed an identity theft report to the

Federal Trade Commission (report no. 151243187), informing them that she




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believed she was a victim of either a mixed file or identity theft due to the Capital

One credit cards being opened without her authorization.

       28.    On April 24, 2023, obtained copies of her credit reports. Upon her

review, the Capital One account ending in x0062 was being negatively reported on

her credit file with a balance of $847 and with a status of “Charge Off”, and further,

the Capital One account ending in x4878 was being negatively reported on her credit

file with a balance of $437 and with a status of “over 120 days past due” (hereinafter

collectively the “Capital One Accounts”). Plaintiff did not owe either balance to

Capital One. She never opened the fraud account, and she clearly disputed the

account take over on the other account. Such reporting negatively impacted

Plaintiff’s credit scores.

       29.    Around April 28, 2023, Plaintiff reported the fraudulent Capital One

Accounts to the Consumer Financial Protection Bureau (“CFPB”), File ID 230428-

10968458.

       30.    In the CFPB Complaint, Plaintiff detailed the fact that she never

authorized the Capital One Accounts, the CRAs were reporting the erroneous

accounts on her credit report, and requested an investigation into the fraudulent

accounts and the CRAs inaccurate reporting.




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      31.    Under 15 U.S.C. § 1681e (3) of the FCRA, credit reporting agencies,

such as Equifax, Experian, and Trans Union, are required to review certain consumer

complaints about inaccurate information that are originally sent to the CFPB.

      32.    Upon information and belief, the CRAs failed to review the CFPB

complaint that Plaintiff filed and continued to report the erroneous accounts on her

credit report.

      33.    On May 9, 2023, Plaintiff mailed a detailed written dispute letter to the

CRAs concerning incorrect personal identifying information on her credit file,

unauthorized hard inquiries, and the continued inaccurate reporting of the fraudulent

Capital One Accounts that did not belong to her and was most likely the result of

either a mixed file or identity theft. In the letter, Plaintiff included an image of her

driver’s license to confirm her identity. Plaintiff also included images from her credit

reports of the erroneous reporting of the fraudulent Capital One Accounts, an image

of her confirmation of filing of her FTC Identity Theft Report, and images of text

communications with an officer with the Eugene Police Department who issued a

driving citation against the person who was impersonating Plaintiff and using

Plaintiff’s personal identifying information.




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      34.    Plaintiff mailed her detailed dispute letter via USPS Certified Mail to

Equifax (7022 3330 0000 3113 9144), Experian (7022 3330 0000 3113 9151), and

Trans Union (7022 3330 0000 3113 9168).

      35.    On May 18, 2023, Trans Union responded to Plaintiff’s written dispute

letter by stating the incorrect personal identifying information was updated, and that

the Capital One Accounts for “VERIFIED AS ACCURATE”.

      36.    Trans Union never attempted to contact Plaintiff during the alleged

investigation.

      37.    Trans Union failed to do any independent investigation into Plaintiff’s

dispute, but rather parroted information it received from the furnisher, Capital One.

      38.    Upon information and belief, Trans Union notified Capital One of

Plaintiff’s dispute. However, Capital One failed to conduct a reasonable

investigation and merely compared its own erroneous data to that provided by Trans

Union in connection with the dispute investigation.

      39.    On May 19, 2023, Equifax responded to Plaintiff’s written dispute letter

by stating the personal identifying information provided did not match the credit file

and request additional information to confirm her identity. This request was merely

an attempt to block Plaintiff’s right to dispute under the FCRA.




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      40.    Equifax never attempted to contact Plaintiff during the alleged

investigation and failed to do an independent investigation.

      41.    On May 22, 2023, Experian responded to Plaintiff’s written dispute

letter by stating the disputed inquiries were removed. However, the Capital One

Accounts continued to be reported and were not investigated.

      42.    On July 24, 2023, Plaintiff mailed a detailed written dispute letter to the

CRAs again concerning incorrect personal identifying information on her credit file,

unauthorized hard inquiries, and the continued inaccurate reporting of the fraudulent

Capital One Accounts that did not belong to her and was most likely the result of

either a mixed file or identity theft. In the letter, Plaintiff included an image of her

driver’s license to confirm her identity. Plaintiff also included images from her credit

reports of the erroneous reporting of the fraudulent Capital One Accounts, an image

of her confirmation of filing of her FTC Identity Theft Report, and images of text

communications with an officer with the Eugene Police Department who issued a

driving citation against the person who was impersonating Plaintiff and using

Plaintiff’s personal identifying information.

      43.    Plaintiff mailed her detailed dispute letter via USPS Certified Mail to

Equifax (7022 0410 0001 7850 6414), Experian (7022 0410 0001 7850 6438), and

Trans Union (7022 0410 0001 7850 6421).


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      44.      To date, Plaintiff has not received dispute results from her latest

disputes.

      45.      Experian never attempted to contact Plaintiff during the alleged

investigation.

      46.      Experian failed to do any independent investigation into Plaintiff’s

dispute regarding the Capital One Accounts.

      47.      Plaintiff continues to suffer as of the filing of this Complaint with

Defendants’ reluctance to conduct a thorough investigation into her dispute or

otherwise make her credit file accurate.

      48.      As a result of the inaccurate credit reporting, Plaintiff has suffered

damages, including, but not limited to:

              i.   Monies lost by attempting to fix her credit;

             ii.   Loss of time attempting to cure the errors;

            iii.   Mental anguish, added stress, aggravation, embarrassment,

                   sleepless nights, and other related impairments to the enjoyment of

                   life;

            iv.    Plaintiff is being physically affected by Defendants’ reluctance to

                   fix the errors;

             v.    Reduction in credit score;


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             vi.    Apprehensiveness to apply for credit due to the fear of rejection; and

             vii.   Defamation as Equifax published inaccurate information to third

                    party entities.

                                     COUNT I
                      Violations of 15 U.S.C. § 1681e(b) as to
              Defendant, Equifax Information Services LLC (Negligent)

       49.      Plaintiff re-alleges and reincorporates paragraphs one (1) through forty-

eight (48) above as if fully stated herein.

       50.      Equifax violated 15 U.S.C. § 1681e(b) by failing to establish and/or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit report and credit files it published and maintains concerning

Plaintiff.

       51.      Upon information and belief, Equifax prevents its agents from calling

consumers (like Plaintiff) during the dispute process or from calling witnesses with

knowledge about the dispute.

       52.      As a direct result of this conduct, action and/or inaction of Equifax,

Plaintiff suffered damages, including without limitation, by loss of the ability to

benefit from lower interest rates; mental and emotional pain stemming from the

anguish, humiliation, and apprehension in applying for credit or housing, and the

damages otherwise outlined in this Complaint.


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      53.    Equifax violated its own policies and procedures by not removing the

fraudulent Capital One Accounts when Plaintiff provided the Federal Trade

Commission Identity Theft Report, which contained sworn testimony of the fraud.

      54.    Equifax’s conduct, action and/or inaction was negligent, rendering it

liable for actual damages, in an amount to be determined by the Court pursuant to

15 USC § 1681o.

      55.    Plaintiff is entitled to recover costs and attorney’s fees from Equifax in

an amount to be determined by the Court pursuant to 15 USC § 1681o.

      WHEREFORE, Plaintiff, CHELSEA RAYNE WINTERS, respectfully

requests that this Court award actual damages against Defendant, EQUIFAX

INFORMATION SERVICES LLC, jointly and severally; award Plaintiff her

attorneys’ fees and costs; award pre-judgment and post-judgment interest at the legal

rate; and grant all such additional relief as the Court deems appropriate.



                                  COUNT II
                   Violations of 15 U.S.C. § 1681e(b) as to
            Defendant, Equifax Information Services LLC (Willful)

      56.    Plaintiff re-alleges and reincorporates paragraphs one (1) through forty-

eight (48) above as if fully stated herein.




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       57.   Equifax violated 15 U.S.C. § 1681e(b) by failing to establish and/or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit report and credit files it published and maintains concerning

Plaintiff.

       58.   Upon information and belief, Equifax prevents its agents from calling

consumers (like Plaintiff) during the dispute process or from calling witnesses with

knowledge about the dispute.

       59.   As a direct result of this conduct, action and/or inaction of Equifax,

Plaintiff suffered damages, including without limitation, by loss of the ability to

benefit from lower interest rates; mental and emotional pain stemming from the

anguish, humiliation, and apprehension in applying for credit or housing, and the

damages otherwise outlined in this Complaint.

       60.   Equifax violated its own policies and procedures by not removing the

fraudulent Capital One Accounts when Plaintiff provided the Federal Trade

Commission Identity Theft Report, which contained sworn testimony of the fraud.

       61.   Equifax’s conduct, action and/or inaction was willful, rendering it liable

for actual or statutory damages, and punitive damages, in an amount to be

determined by the Court pursuant to 15 USC § 1681n.




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      62.    Plaintiff is entitled to recover costs and attorney’s fees from Equifax in

an amount to be determined by the Court pursuant to 15 USC § 1681n.

      WHEREFORE, Plaintiff, CHELSEA RAYNE WINTERS, respectfully

requests that this Court award actual or statutory damages, and punitive damages

against Defendant, EQUIFAX INFORMATION SERVICES LLC, jointly and

severally; award Plaintiff her attorneys’ fees and costs; award pre-judgment and

post-judgment interest at the legal rate; and grant all such additional relief as the

Court deems appropriate.

                                   COUNT III
                       Violation of 15 U.S.C § 16811i as to
            Defendant, Equifax Information Services LLC (Negligent)

      63.    Plaintiff re-alleges and reincorporates paragraphs one (1) through forty-

eight (48) above as if fully stated herein.

      64.    After receiving Plaintiff’s disputes, Equifax violated 15 U.S.C. § 1681i

by: (1) failing to delete inaccurate information in Plaintiff’s credit file after receiving

notice of such inaccuracies; (2) failing to conduct a lawful reinvestigation; (3) failing

to maintain reasonable procedures with which to filter and verify disputed

information in Plaintiff’s credit file, and (4) relying upon verification from a source

it has to know is unreliable.




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      65.    Despite the large amount of information and documentation produced

by Plaintiff demonstrating the fraud, Equifax refused to conduct any independent

investigations into Plaintiff’s disputes and simply transferred the duty to investigate

to the furnisher, Capital One.

      66.    As a direct result of this conduct, action and/or inaction of Equifax,

Plaintiff suffered damages, including without limitation, loss of ability to benefit

from lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, apprehension in applying for credit, and

the damages otherwise outlined in this Complaint.

      67.    Equifax’s conduct, action, and/or inaction was negligent, rendering it

liable for actual damages in an amount to be determined by the Court pursuant to 15

USC § 1681o.

      68.    Plaintiff is entitled to recover costs and attorney’s fees from Equifax in

an amount to be determined by the Court pursuant to 15 U.S.C. § 1681o.

      WHEREFORE Plaintiff, CHELSEA RAYNE WINTERS, respectfully

requests that this Court award actual damages against Defendant, EQUIFAX

INFORMATION SERVICES LLC, jointly and severally; award Plaintiff her

attorneys’ fees and costs; award pre-judgment and post-judgment interest at the legal

rate; and grant all such additional relief as the Court deems appropriate.


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                                  COUNT IV
                      Violation of 15 U.S.C § 16811i as to
             Defendant, Equifax Information Services LLC (Willful)

      69.    Plaintiff re-alleges and reincorporates paragraphs one (1) through forty-

eight (48) above as if fully stated herein.

      70.    After receiving Plaintiff’s disputes, Equifax violated 15 U.S.C. § 1681i

by: (1) failing to delete inaccurate information in Plaintiff’s credit file after receiving

notice of such inaccuracies; (2) failing to conduct a lawful reinvestigation; (3) failing

to maintain reasonable procedures with which to filter and verify disputed

information in Plaintiff’s credit file, and (4) relying upon verification from a source

it has to know is unreliable.

      71.    Despite the large amount of information and documentation produced

by Plaintiff demonstrating the fraud, Equifax refused to conduct any independent

investigations into Plaintiff’s disputes and simply transferred the duty to investigate

to the furnisher, Capital One.

      72.    As a direct result of this conduct, action and/or inaction of Equifax,

Plaintiff suffered damages, including without limitation, loss of ability to benefit

from lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, apprehension in applying for credit, and

the damages otherwise outlined in this Complaint.


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       73.     Equifax’s conduct, action, and/or inaction was willful, rendering it

liable for actual or statutory damages, and punitive damages in an amount to be

determined by the Court pursuant to 15 USC § 1681n.

       74.     Plaintiff is entitled to recover costs and attorney’s fees from Equifax in

an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

       WHEREFORE Plaintiff, CHELSEA RAYNE WINTERS, respectfully

requests that this Court award actual or statutory damages, and punitive damages

against Defendant, EQUIFAX INFORMATION SERVICES LLC, jointly and

severally; award Plaintiff her attorneys’ fees and costs; award pre-judgment and

post-judgment interest at the legal rate; and grant all such additional relief as the

Court deems appropriate.

                                     COUNT V
                      Violations of 15 U.S.C. § 1681e(b) as to
             Defendant, Experian Information Solutions, Inc. (Negligent)

       75.     Plaintiff re-alleges and reincorporates paragraphs one (1) through forty-

eight (48) above as if fully stated herein.

       76.     Experian violated 15 U.S.C. § 1681e(b) by failing to establish and/or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit report and credit files it published and maintains concerning

Plaintiff.


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      77.   Upon information and belief, Experian prevents its agents from calling

consumers (like Plaintiff) during the dispute process or from calling witnesses with

knowledge about the dispute.

      78.   As a direct result of this conduct, action and/or inaction of Experian,

Plaintiff suffered damages, including without limitation, by loss of the ability to

benefit from lower interest rates; mental and emotional pain stemming from the

anguish, humiliation, and apprehension in applying for credit or housing, and the

damages otherwise outlined in this Complaint.

      79.   Experian violated its own policies and procedures by not removing the

fraudulent Capital One Accounts when Plaintiff provided the Federal Trade

Commission Identity Theft Report, which contained sworn testimony of the fraud.

      80.   Experian’s conduct, action and/or inaction was negligent, rendering it

liable for actual damages, in an amount to be determined by the Court pursuant to

15 USC § 1681o.

      81.   Plaintiff is entitled to recover costs and attorney’s fees from Experian

in an amount to be determined by the Court pursuant to 15 USC § 1681o.

      WHEREFORE, Plaintiff, CHELSEA RAYNE WINTERS, respectfully

requests that this Court award actual damages against Defendant, EXPERIAN

INFORMATION SOLUTIONS, INC., jointly and severally; award Plaintiff her


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attorneys’ fees and costs; award pre-judgment and post-judgment interest at the legal

rate; and grant all such additional relief as the Court deems appropriate.

                                   COUNT VI
                     Violations of 15 U.S.C. § 1681e(b) as to
             Defendant, Experian Information Solutions, Inc. (Willful)

       82.    Plaintiff re-alleges and reincorporates paragraphs one (1) through forty-

eight (48) above as if fully stated herein.

       83.    Experian violated 15 U.S.C. § 1681e(b) by failing to establish and/or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit report and credit files it published and maintains concerning

Plaintiff.

       84.    Upon information and belief, Experian prevents its agents from calling

consumers (like Plaintiff) during the dispute process or from calling witnesses with

knowledge about the dispute.

       85.    As a direct result of this conduct, action and/or inaction of Experian,

Plaintiff suffered damages, including without limitation, by loss of the ability to

benefit from lower interest rates; mental and emotional pain stemming from the

anguish, humiliation, and apprehension in applying for credit or housing, and the

damages otherwise outlined in this Complaint.




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      86.     Experian violated its own policies and procedures by not removing the

fraudulent Capital One accounts when Plaintiff provided the Federal Trade

Commission Identity Theft Report, which contained sworn testimony of the fraud.

      87.     Experian’s conduct, action and/or inaction was willful, rendering it

liable for actual or statutory damages, and punitive damages, in an amount to be

determined by the Court pursuant to 15 USC § 1681n.

      88.     Plaintiff is entitled to recover costs and attorney’s fees from Experian

in an amount to be determined by the Court pursuant to 15 USC § 1681n.

      WHEREFORE, Plaintiff, CHELSEA RAYNE WINTERS, respectfully

requests that this Court award actual or statutory damages, and punitive damages

against Defendant, EXPERIAN INFORMATION SERVICES, INC., jointly and

severally; award Plaintiff her attorneys’ fees and costs; award pre-judgment and

post-judgment interest at the legal rate; and grant all such additional relief as the

Court deems appropriate.

                                   COUNT VII
                        Violation of 15 U.S.C § 16811i as to
            Defendant, Experian Information Solutions, Inc. (Negligent)

      89.     Plaintiff re-alleges and reincorporates paragraphs one (1) through forty-

eight (48) above as if fully stated herein.




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      90.    After receiving Plaintiff’s disputes, Experian violated 15 U.S.C. §

1681i by: (1) failing to delete inaccurate information in Plaintiff’s credit file after

receiving notice of such inaccuracies; (2) failing to conduct a lawful reinvestigation;

(3) failing to maintain reasonable procedures with which to filter and verify disputed

information in Plaintiff’s credit file, and (4) relying upon verification from a source

it has to know is unreliable.

      91.    Despite the large amount of information and documentation produced

by Plaintiff demonstrating the fraud, Experian refused to conduct any independent

investigations into Plaintiff’s disputes and simply transferred the duty to investigate

to the furnisher, Capital One.

      92.    As a direct result of this conduct, action and/or inaction of Experian,

Plaintiff suffered damages, including without limitation, loss of ability to benefit

from lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, apprehension in applying for credit, and

the damages otherwise outlined in this Complaint.

      93.    Experian’s conduct, action, and/or inaction was negligent, rendering it

liable for actual damages in an amount to be determined by the Court pursuant to 15

USC § 1681o.




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      94.    Plaintiff is entitled to recover costs and attorney’s fees from Experian

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681o.

      WHEREFORE Plaintiff, CHELSEA RAYNE WINTERS, respectfully

requests that this Court award actual damages against Defendant, EXPERIAN

INFORMATION SOLUTIONS, INC., jointly and severally; award Plaintiff her

attorneys’ fees and costs; award pre-judgment and post-judgment interest at the legal

rate; and grant all such additional relief as the Court deems appropriate.

                                 COUNT VIII
                      Violation of 15 U.S.C § 16811i as to
            Defendant, Experian Information Solutions, Inc. (Willful)

      95.    Plaintiff re-alleges and reincorporates paragraphs one (1) through forty-

eight (48) above as if fully stated herein.

      96.    After receiving Plaintiff’s disputes, Experian violated 15 U.S.C. §

1681i by: (1) failing to delete inaccurate information in Plaintiff’s credit file after

receiving notice of such inaccuracies; (2) failing to conduct a lawful reinvestigation;

(3) failing to maintain reasonable procedures with which to filter and verify disputed

information in Plaintiff’s credit file, and (4) relying upon verification from a source

it has to know is unreliable.

      97.    Despite the large amount of information and documentation produced

by Plaintiff demonstrating the fraud, Experian refused to conduct any independent


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investigations into Plaintiff’s disputes and simply transferred the duty to investigate

to the furnisher, Capital One.

      98.    As a direct result of this conduct, action and/or inaction of Experian,

Plaintiff suffered damages, including without limitation, loss of ability to benefit

from lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, apprehension in applying for credit, and

the damages otherwise outlined in this Complaint.

      99.    Experian’s conduct, action, and/or inaction was willful, rendering it

liable for actual or statutory damages, and punitive damages in an amount to be

determined by the Court pursuant to 15 USC § 1681n.

      100. Plaintiff is entitled to recover costs and attorney’s fees from Experian

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

      WHEREFORE Plaintiff, CHELSEA RAYNE WINTERS, respectfully

requests that this Court award actual or statutory damages, and punitive damages

against Defendant, EXPERIAN INFORMATION SOLUTIONS, INC., jointly and

severally; award Plaintiff her attorneys’ fees and costs; award pre-judgment and

post-judgment interest at the legal rate; and grant all such additional relief as the

Court deems appropriate.

                                   COUNT IX
                     Violations of 15 U.S.C. § 1681e(b) as to

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                     Defendant, Trans Union LLC (Negligent)

       101. Plaintiff re-alleges and reincorporates paragraphs one (1) through forty-

eight (48) above as if fully stated herein.

       102. Trans Union violated 15 U.S.C. § 1681e(b) by failing to establish and/or

to follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit report and credit files it published and maintains concerning

Plaintiff.

       103. Upon information and belief, Trans Union prevents its agents from

calling consumers (like Plaintiff) during the dispute process or from calling

witnesses with knowledge about the dispute.

       104. As a direct result of this conduct, action and/or inaction of Trans Union,

Plaintiff suffered damages, including without limitation, by loss of the ability to

benefit from lower interest rates; mental and emotional pain stemming from the

anguish, humiliation, and apprehension in applying for credit or housing, and the

damages otherwise outlined in this Complaint.

       105. Trans Union violated its own policies and procedures by not removing

the fraudulent Capital One Accounts when Plaintiff provided the Federal Trade

Commission Identity Theft Report, which contained sworn testimony of the fraud.




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       106. Trans Union’s conduct, action and/or inaction was negligent, rendering

it liable for actual damages, in an amount to be determined by the Court pursuant to

15 USC § 1681o.

       107. Plaintiff is entitled to recover costs and attorney’s fees from Trans

Union in an amount to be determined by the Court pursuant to 15 USC § 1681o.

       WHEREFORE, Plaintiff, CHELSEA RAYNE WINTERS, respectfully

requests that this Court award actual damages against Defendant, TRANS UNION

LLC, jointly and severally; award Plaintiff her attorneys’ fees and costs; award pre-

judgment and post-judgment interest at the legal rate; and grant all such additional

relief as the Court deems appropriate.


                                     COUNT X
                      Violations of 15 U.S.C. § 1681e(b) as to
                      Defendant, Trans Union LLC (Willful)

       108. Plaintiff re-alleges and reincorporates paragraphs one (1) through forty-

eight (48) above as if fully stated herein.

       109. Trans Union violated 15 U.S.C. § 1681e(b) by failing to establish and/or

to follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit report and credit files it published and maintains concerning

Plaintiff.



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      110. Upon information and belief, Trans Union prevents its agents from

calling consumers (like Plaintiff) during the dispute process or from calling

witnesses with knowledge about the dispute.

      111. As a direct result of this conduct, action and/or inaction of Trans Union,

Plaintiff suffered damages, including without limitation, by loss of the ability to

benefit from lower interest rates; mental and emotional pain stemming from the

anguish, humiliation, and apprehension in applying for credit or housing, and the

damages otherwise outlined in this Complaint.

      112. Trans Union violated its own policies and procedures by not removing

the fraudulent Capital One Accounts when Plaintiff provided the Federal Trade

Commission Identity Theft Report, which contained sworn testimony of the fraud.

      113. Trans Union’s conduct, action and/or inaction was willful, rendering it

liable for actual or statutory damages, and punitive damages, in an amount to be

determined by the Court pursuant to 15 USC § 1681n.

      114. Plaintiff is entitled to recover costs and attorney’s fees from Trans

Union in an amount to be determined by the Court pursuant to 15 USC § 1681n.

      WHEREFORE, Plaintiff, CHELSEA RAYNE WINTERS, respectfully

requests that this Court award actual or statutory damages, and punitive damages

against Defendant, TRANS UNION LLC, jointly and severally; award Plaintiff her


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attorneys’ fees and costs; award pre-judgment and post-judgment interest at the legal

rate; and grant all such additional relief as the Court deems appropriate.

                                   COUNT XI
                       Violation of 15 U.S.C § 16811i as to
                     Defendant, Trans Union LLC (Negligent)

      115. Plaintiff re-alleges and reincorporates paragraphs one (1) through forty-

eight (48) above as if fully stated herein.

      116. After receiving Plaintiff’s disputes, Trans Union violated 15 U.S.C. §

1681i by: (1) failing to delete inaccurate information in Plaintiff’s credit file after

receiving notice of such inaccuracies; (2) failing to conduct a lawful reinvestigation;

(3) failing to maintain reasonable procedures with which to filter and verify disputed

information in Plaintiff’s credit file, and (4) relying upon verification from a source

it has to know is unreliable.

      117. Despite the large amount of information and documentation produced

by Plaintiff demonstrating the fraud, Trans Union refused to conduct any

independent investigations into Plaintiff’s disputes and simply transferred the duty

to investigate to the furnisher, Capital One.

      118. As a direct result of this conduct, action and/or inaction of Trans Union,

Plaintiff suffered damages, including without limitation, loss of ability to benefit

from lower interest rates; loss of time; financial loss; and mental and emotional pain


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stemming from the anguish, humiliation, apprehension in applying for credit, and

the damages otherwise outlined in this Complaint.

      119. Trans Union’s conduct, action, and/or inaction was negligent, rendering

it liable for actual damages in an amount to be determined by the Court pursuant to

15 USC § 1681o.

      120. Plaintiff is entitled to recover costs and attorney’s fees from Trans

Union in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681o.

      WHEREFORE Plaintiff, CHELSEA RAYNE WINTERS, respectfully

requests that this Court award actual damages against Defendant, TRANS UNION

LLC, jointly and severally; award Plaintiff her attorneys’ fees and costs; award pre-

judgment and post-judgment interest at the legal rate; and grant all such additional

relief as the Court deems appropriate.

                                  COUNT XII
                       Violation of 15 U.S.C § 16811i as to
                      Defendant, Trans Union LLC (Willful)

      121. Plaintiff re-alleges and reincorporates paragraphs one (1) through forty-

eight (48) above as if fully stated herein.

      122. After receiving Plaintiff’s disputes, Trans Union violated 15 U.S.C. §

1681i by: (1) failing to delete inaccurate information in Plaintiff’s credit file after

receiving notice of such inaccuracies; (2) failing to conduct a lawful reinvestigation;


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(3) failing to maintain reasonable procedures with which to filter and verify disputed

information in Plaintiff’s credit file, and (4) relying upon verification from a source

it has to know is unreliable.

      123. Despite the large amount of information and documentation produced

by Plaintiff demonstrating the fraud, Trans Union refused to conduct any

independent investigations into Plaintiff’s disputes and simply transferred the duty

to investigate to the furnisher, Capital One.

      124. As a direct result of this conduct, action and/or inaction of Trans Union,

Plaintiff suffered damages, including without limitation, loss of ability to benefit

from lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, apprehension in applying for credit, and

the damages otherwise outlined in this Complaint.

      125. Trans Union’s conduct, action, and/or inaction was willful, rendering it

liable for actual or statutory damages, and punitive damages in an amount to be

determined by the Court pursuant to 15 USC § 1681n.

      126. Plaintiff is entitled to recover costs and attorney’s fees from Trans

Union in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

      WHEREFORE Plaintiff, CHELSEA RAYNE WINTERS, respectfully

requests that this Court award actual or statutory damages, and punitive damages


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against Defendant, TRANS UNION LLC, jointly and severally; award Plaintiff her

attorneys’ fees and costs; award pre-judgment and post-judgment interest at the legal

rate; and grant all such additional relief as the Court deems appropriate.

                                      COUNT XIII
                         Violation of 15 U.S.C § 1681s-2(b) as to
                        Defendant, Capital One, N.A. (Negligent)

      127. Plaintiff re-alleges and reincorporates paragraphs one (1) through forty-

eight (48) above as if fully stated herein.

      128. Capital One furnished inaccurate account information to the CRAs and

through the CRAs to all of Plaintiff’s potential lenders.

      129. After receiving Plaintiff’s disputes, Capital One violated 15 U.S.C. §

1681s-2(b) by (1) failing to fully and properly investigate the Plaintiff’s dispute of

the account; (2) failing to review all relevant information regarding same; (3) failing

to accurately respond to the CRAs; and (4) failing to permanently and lawfully

correct its own internal records to prevent the re-reporting of the representations to

the consumer reporting agency.

      130. Plaintiff provided all the relevant information and documents necessary

for Capital One to have identified that the account did not belong to Plaintiff.

      131. Capital One did not have any reasonable basis to believe that Plaintiff

was responsible for the account reported in its representations. It also had sufficient


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evidence by which to have verified that Plaintiff was not the responsible party,

including information provided to Capital One by Plaintiff in connection with her

disputes of the account in question. Instead, it knowingly chose to follow procedures

which did not review, confirm, or verify the account belonged to Plaintiff. Further,

even if it would attempt to plead ignorance, it had the evidence and information with

which to confirm and recognize that Plaintiff was a victim of identity theft.

      132. Capital One violated 15 U.S.C. § 1681s-2(b) by continuing to furnish

inaccurate information to the CRAs after it had been notified that the information it

was furnishing was inaccurate.

      133. As a result of the conduct, action, and/or inaction of Capital One,

Plaintiff suffered damages, including without limitation, loss of the ability to

purchase and benefit from credit, financial loss, mental and emotional pain

stemming from the anguish, humiliation, and embarrassment of a diminished credit

score, apprehension in applying for credit, and damages otherwise outlined in this

Complaint.

      134. Capital One’s conduct, action, and/or inaction was negligent, rendering

it liable for actual damages in an amount to be determined by the Court pursuant to

15 U.S.C. § 1681o.




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      135. Plaintiff is entitled to recover reasonable attorney’s fees and costs from

Capital One in an amount to be determined by the Court pursuant to 15 U.S.C. §

1681o.

      WHEREFORE Plaintiff, CHELSEA RAYNE WINTERS, respectfully

requests that this Court award actual damages against Defendant, CAPITAL ONE,

N.A., jointly and severally; award Plaintiff her attorneys’ fees and costs; award pre-

judgment and post-judgment interest at the legal rate; and grant all such additional

relief as the Court deems appropriate.

                                      COUNT XIV
                         Violation of 15 U.S.C § 1681s-2(b) as to
                         Defendant, Capital One, N.A. (Willful)

      136. Plaintiff re-alleges and reincorporates paragraphs one (1) through forty-

eight (48) above as if fully stated herein.

      137. Capital One furnished inaccurate account information to the CRAs and

through the CRAs to all of Plaintiff’s potential lenders.

      138. After receiving Plaintiff’s disputes, Capital One violated 15 U.S.C. §

1681s-2(b) by (1) failing to fully and properly investigate the Plaintiff’s dispute of

the account; (2) failing to review all relevant information regarding same; (3) failing

to accurately respond to the CRAs; and (4) failing to permanently and lawfully




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correct its own internal records to prevent the re-reporting of the representations to

the consumer reporting agency.

      139. Plaintiff provided all the relevant information and documents necessary

for Capital One to have identified that the account did not belong to Plaintiff.

      140. Capital One did not have any reasonable basis to believe that Plaintiff

was responsible for the account reported in its representations. It also had sufficient

evidence by which to have verified that Plaintiff was not the responsible party,

including information provided to Capital One by Plaintiff in connection with her

disputes of the account in question. Instead, it knowingly chose to follow procedures

which did not review, confirm, or verify the account belonged to Plaintiff. Further,

even if it would attempt to plead ignorance, it had the evidence and information with

which to confirm and recognize that Plaintiff was a victim of identity theft.

      141. Capital One violated 15 U.S.C. § 1681s-2(b) by continuing to furnish

inaccurate information to the CRAs after it had been notified that the information it

was furnishing was inaccurate.

      142. As a result of the conduct, action, and/or inaction of Capital One,

Plaintiff suffered damages, including without limitation, loss of the ability to

purchase and benefit from credit, financial loss, mental and emotional pain

stemming from the anguish, humiliation, and embarrassment of a diminished credit


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score, apprehension in applying for credit, and damages otherwise outlined in this

Complaint.

       143. Capital One’s conduct, action, and/or inaction was willful, rendering it

liable for actual or statutory damages and punitive damages in an amount to be

determined by the Court pursuant to 15 U.S.C. § 1681n.

       144. Plaintiff is entitled to recover reasonable attorney’s fees and costs from

Capital One in an amount to be determined by the Court pursuant to 15 U.S.C. §

1681n.

       WHEREFORE Plaintiff, CHELSEA RAYNE WINTERS, respectfully

requests that this Court award actual or statutory damages and punitive damages

against Defendant, CAPITAL ONE, N.A., jointly and severally; award Plaintiff her

attorneys’ fees and costs; award pre-judgment and post-judgment interest at the legal

rate; and grant all such additional relief as the Court deems appropriate.

                                    JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiff hereby demands a

trial by jury of all issues triable by jury.

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, CHELSEA RAYNE WINTERS, demands judgment

for damages against Defendants, EQUIFAX INFORMATION SERVICES LLC,


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EXPERIAN INFORMATION SOLUTIONS, INC., TRANS UNION LLC, and

CAPITAL ONE, N.A., jointly and severally; attorneys’ fees and costs; prejudgment

and post-judgment interest at the judgment rate; and such other relief the Court

deems just and proper.

      DATED this 25th day of July 2023.

                                               Respectfully Submitted,

                                               /s/ Octavio Gomez
                                               Octavio “Tav” Gomez, Esq.
                                               Georgia Bar #: 617963
                                               Florida Bar #: 0338620
                                               Pennsylvania Bar #: 325066
                                               The Consumer Lawyers PLLC
                                               412 E. Madison St. Ste 916
                                               Tampa, Florida 33602
                                               Cell: (813) 299-8537
                                               Facsimile: (844) 951-3933
                                               Primary Email:
                                               Tav@theconsumerlawyers.com
                                               Secondary Email:
                                               Lisa@theconsumerlawyers.com




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